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                 Exhibit 1
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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 MICHELLE MARINO, DEBORAH                            CASE NO: 1:16-cv-01122-VEC(OTW) (Lead)
 ESPARZA, MONICA RAEL, and CERA
 HINKEY, on behalf of themselves and all             Consolidated Member Case Nos.:
 others similarly situated,                          1:16-cv-03773-VEC (OTW)
                                                     1:16-cv-03677-VEC (OTW)
                Plaintiffs,                          1:16-cv-05320-VEC (OTW)

 v.

 COACH, INC.,

                Defendant.


                        DECLARATION OF TODD D. CARPENTER

       I, Todd D. Carpenter, declare as follows:

       1.      I am an attorney duly admitted to practice law before all courts of the State of

California, and I am a shareholder in the law firm of Carlson Lynch LLP, for Plaintiffs and the

Class herein. I make this declaration in support of Plaintiffs’ Unopposed Motion for Attorneys’

Fees, Costs, and Incentive Awards. If called as a witness, I could and would competently testify

to the following:

       2.      I have personally been involved in the investigation and prosecution of this class

action from its inception through the present. I oversaw the investigation into several locations of

the Defendants’ stores across the nation. My firm has filed over a dozen, “false pricing” cases

against retailers engaged in similar conduct that alleged in this action. The Coach case was one of

the first such lawsuits filed by my firm and also one of the most exhaustive/extensive

investigations. I directed the investigation through the use of my paralegals / investigators and

reviewed their time entries and work product accordingly. I was also actively involved in the

extensive settlement negotiations. I assigned litigation tasks to my associates, but performed the

high-level negotiation of the settlement and oversaw the approval process and law & motion work.

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       3.      The law firm of Carlson Lynch LLP has expended a substantial amount of time and

effort in prosecuting this action and achieving an adequate benefit for the Class. The requested fee

is reasonable and appropriate based on the risks of litigation, Class Counsel’s refusal of alternative

employment opportunities with guaranteed payment, and the benefit obtained for the Class.

       4.      After reaching agreement on the material terms of the Settlement, the Parties

negotiated an agreement on attorneys’ fees, costs, and incentive awards that Defendant will pay

separate and apart from its payment to the Class.

       5.      Carlson Lynch have established our billable rates of: $750.00 per-partner hour;

$395.00 per-associate hour; and $125 per-paralegal hour through an annual, informal survey of

similarly experienced consumer class action attorneys in the Southern California, Pittsburgh, and

Chicago legal markets. My firm has spent approximately $4,671.00 in un-reimbursed expenses

incurred in connection with this case. A breakdown of my firm’s additional costs incurred in this

action is set forth below:

                                              COSTS

 No.                               General Description:                                    Cost:
 1.     Travel to New York                                                                 $1,811
 2.     Court fees                                                                         $2,239
 3.     Electronic research                                                                 $621
 4.     Scanning, photocopying, printing, and other office related costs                   Waived
 5.     Expert consultations                                                               Waived
 6.     Investigation related expenses                                                     Waived
        TOTAL                                                                              $4,671

       6.      My lodestar billing time records are available if required by the Court. A general

summary of my firm’s accrued time, which was calculated from daily time records consistently

and contemporaneously maintained by lawyers and professional staff, is as follows:




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No. General Description:                                       Time:   Rate:   Lodestar:
1.   Pre-filing investigation; research establishing           26.1    $750     $19,575
     theory of liability: (Partner Time): Designed the
     pre-suit investigation, including in-person
     observation and recording of pricing practices and
     sales transactions as well as tracking of online
     pricing. Coordinated the strategy and execution for
     observing pricing practices at outlet and retail stores
     primarily in California, but also in Illinois, Florida,
     New York and New Jersey, including the
     surveillance of pricing strategies and practices on a
     near-daily basis for 8 consecutive months and a total
     14 months out of a 48 month time-period. Assessed
     investigation-acquired pricing against Coach online
     retail data. Designed and implemented the pre-suit
     comparison market investigation – identifying outlet
     items sold and comparing against retail channel
     stores. Research regarding statutory liability for
     false reference pricing; impact /damages analysis.
2.   Pleadings: (Associate Time): Research potential           53.4    $395     $21,093
     causes of action for unique, innovative consumer
     protection suit. Research case law and review case
     database for filings regarding fraudulent sale
     discounting complaints; gather factual information
     for complaint and review corresponding
     investigation data; draft initial complaint and
     circulate for edits; gather and incorporate
     s; incorporate revisions, revise, finalize, and file;
     issue for service; draft complaint; circulate for
     review and incorporate edits; finalize, file, and e-
     serve. Drafted Amended Complaint.
3.   Investigation Time: (Paralegal Time): Observed            326.2   $125     $40,775
     market pricing practices for 18 SKU items identified
     at stores for 8 total months prior to suit and an
     intermittent time period subsequent to filing.
4.   Law and Motion: (Associate Time): Draft                   28.4    $395     $11,218
     Opposition to Motion to Dismiss; research related to
     nationwide settlement issues.
5.   Consolidation: (Partner Time): Coordinated the             6.3    $750     $4,725
     filing of amended pleadings and consolidation of the
     various counsel in SDNY; meetings and
     teleconferences related




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No. General Description:                                       Time:   Rate:   Lodestar:
6.    Law and Motion: (Partner Time): Reviewed;                15.2    $750     $11,400
      amended complaints. Reviewed and revised
      Opposition to Motion to Dismiss.
7.    Settlement Negotiations: (Partner Time): Prepared        126.0   $750     $94,500
      memorandum supporting court required mediation;
      negotiated settlement with defense counsel through
      multiple phone calls and emails over the course of
      several months; build consensus among co-counsel
      conducted meetings to inform negotiations; follow
      up settlement issues. Post mediation settlement
      discussions and teleconferences; multiple revisions
      to Settlement Agreement; Notices. Drafted and
      revised settlement agreement.
8.    Settlement Administration: (Partner Time):               14.3    $750     $10,725
      Solicited bids from various administrators and
      worked with Mr. Weisbrot to develop a feasible
      notice plan to comport with the standards set forth
      by the Federal Judicial Center’s guidelines. Follow
      up phone calls and emails regarding settlement class
      definition and Defendant’s database related issues.
9.    Unallocated General Case Management Issues:               7.8    $750     $5,850
      (Partner Time): Preparation and participation in
      status conferences; periodic teleconferences;
      strategy meetings with team and experts.
10.   Motion for Attorneys’ Fees/Motion for Final              21.3    $395     $8,414
      Approval: (Associate Time): research regarding
      motion for attorneys’ fees and motion for final
      approval of class action settlement and draft the
      same; incorporate edits from partner; prepare for
      final approval hearing; research and draft instant fee
      motion; circulate to partner for review and
      incorporate edits; finalize and file.
11.   Motion for Attorneys’ Fees/Motion for Final              13.3    $750     $9,725
      Approval: (Partner Time): Evaluated and provided
      revisions to motion for attorneys’ fees; prepared
      declaration.
12.   Post Settlement Issues; Communications with               --      --
      potential objectors; Attendance at, and preparation
      for, Final Approval Hearing (Prospective):
      (Partner Time)
      TOTAL                                                                    $238,000




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       7.      Plaintiff Monica Rael maintained continued involvement in the litigation, including

reviewing initial pleadings and communicating with Class Counsel on the status of the action.

       8.      I agreed to accept Plaintiff’s cases on a pure contingency fee basis.

       9.      My hourly rate of $750.00 per hour is in line with comparable hourly rates charged

by other law firms that handle class action litigation in Southern California. Indeed, my current

hourly rate of $750.00 per hour was recently approved on September 27, 2019 by Judge Joel R.

Wohfeil in Rael v. RTW Retailwinds, Inc., et al, Case No. 37-2019-00003850-CU-MC-CTL, and

on July 12, 2019, by Judge Ronald F. Frazier in Dennis v. Ralph Lauren Corporation, et al., Case

No. 37-2018-00058462-CU-MC-CTL, both on unopposed fee applications in similar false and

deceptive sale discounting class action cases. My hourly rate was also recently approved on

April 5, 2019, in an $8,000,000 all-cash FACTA Settlement in Mocek, Varoz, et al v. AllSaints

USA Limited (Case No. 2016-CH-10056; Circuit Court of Cook County, Illinois; County Dept.

Chancery Div.). My previous hourly rate of $650.00 per hour was approved in 2017 by Judge

Judith Hayes on an unopposed fee application in a Song-Beverly Credit Card Act case, Manner v.

Summit Pizza West, LLC, Case No. 37-2015-5909-CU-MC-CTL. My rate has increased over the

last two years commensurate with other plaintiff’s class action practitioners in Southern California

with my level of experience and success.

       10.     My hourly rate is consistent with my level of expertise in consumer class actions. I

have extensive experience in class actions: During the course of my career, I have taken and

defended over 100 depositions in personal injury, complex and class action cases. I have

successfully participated in mediations resulting in more than $100,000,000 in settlements or

awards in class action cases. I have drafted, filed, and argued multiple motions in complex

consumer class actions, including all forms of discovery, dispositive and certification motions. My

practice focuses exclusively on consumer class action and complex litigation, representing plaintiff

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classes in major insurance fraud, unfair business practices, false and deceptive advertising, product

liability and anti-trust violations. Additionally, my San Diego office maintains a robust pro-bono

practice serving socio-economically disadvantaged individuals in consumer finance, consumer

lending and insurance matters.

       11.     I have represented plaintiffs in numerous class action proceedings in California and

throughout the country, in both state and federal courts. I have represented thousands of purchasers

of consumer products, food, food supplements and over-the-counter drugs in state and federal

courts throughout the United States in cases arising out of various false advertising claims made

by manufacturers and retailers, including: Proctor & Gamble, General Mills, Bayer, Clorox, WD-

40, Dean Foods, Botanical Laboratories, Inc., Irwin Naturals, Inc. General Nutrition Corporation

and Pharmavite. As a shareholder, I was also counsel of record at my prior firm in the MDL

proceeding, In re: Hydroxycut Marketing and Sales Practices Litigation, No. 09-02087 (S.D. Cal.),

wherein my previous firm was designated as co-lead counsel for the class. I was also class counsel

for the Settlement Class in FACTA cases against Hugo Boss, U.S.A. Inc. in the Southern District

of California; Travis Benware v. Hugo Boss, U.S.A., Inc., Case No. 3:12-cv-01527-L-MDD and

Southwest Airlines (Lumos v. Southwest Airlines, Co., Case No. C-13-1429-CRB) and Mocek,

Varoz, et al v. AllSaints USA Limited (Case No. 2016-CH-10056; Circuit Court of Cook County,

Illinois; County Dept. Chancery Div.)

       12.     I have represented thousands of consumer credit cardholders against several major

retailers arising from violations of the Song-Beverly Credit Card Action section 1747.08 and have

achieved excellent results, including, but not limited to a class benefit of a retail gift valued

between $40 and $120 in a class action settlement with Gucci America, Inc. I have also represented

thousands of consumer debit card holders against major commercial banks, including assuming a

leadership role as prosecuting counsel in In re: Checking Account Overdraft Litigation, Larsen v.

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Union Bank and Dee v. Bank of the West, MDL No. 2036 (S.D. Fl.). I have filed similar actions

against several other banks and credit unions across the country, alleging that each institution

manipulated the processing of customer debit card purchases to maximize overdraft fees, including

actions against Northwest Savings Bank, (Toth v. Northwest Savings Bank, Case No. GD-12-8014,

In the Court of Common Pleas of Allegheny County, Pittsburgh, Pennsylvania), Pinnacle National

Bank (John Higgins v. Pinnacle Bank, Case No. 11-C4858, in the Circuit Court for the State of

Tennessee, Twentieth Judicial District in Nashville) and Mission Federal Credit Union (Taylor v.

Mission Federal Credit Union, Case No. 37-2012-00092073-CU-BT-CTL, San Diego Superior

Court, Department 75, San Diego, California).

       13.    I was also appointed class counsel in Plantier, et al. v. Ramona Municipal Water

District, San Diego, Superior Court Case No. 37-2014-00083195-CU-BT-CTL, and Mendoza v.

The Gar Wood Restaurant, LLP, Placer County Case No. SCV 0034158.

       14.    I have been recognized as a semi-finalist as a “Top Corporate Litigation Attorney,”

by the San Diego Daily Transcript in 2012, and I have been named a San Diego “Super Lawyer”

in 2015, 2016, 2017, 2018 and 2019.

       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct, and that this declaration was executed on January 11, 2021, in San

Diego, California.

Dated: January 11, 2021                      CARLSON LYNCH LLP
                                        By: /s/Todd D. Carpenter
                                            Todd D. Carpenter (SBN 234464)
                                            1350 Columbia St., Ste. 603
                                            San Diego, CA 92101
                                            Tel.: 619-762-1900
                                            Fax: 619-756-6991
                                            tcarpenter@carlsonlynch.com
                                             Attorneys for Plaintiffs



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